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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


LAURA ANN HARRIS PATTERSON,                   )
                                              )
                                              )
       Plaintiff,                             )
                                              )      No. 3:19-CV-00487
v.                                            )
                                              )
ANDREW M. SAUL,                               )
Commissioner of Social Security,              )
                                              )
       Defendant.                             )


                                     NOTICE OF APPEAL

       Notice is given that Plaintiff/Appellant, LAURA ANN HARRIS PATTERSON, hereby

appeals to the United States Court of Appeals for the Seventh Circuit, from the Order entered by

U.S. District Judge Barbara B. Crabb on April 13, 2020. Said Order denied Plaintiff’s application

for Disability Insurance Benefits and Supplemental Security Income with the Social Security

Administration, affirming the Commissioner’s decision to deny Plaintiff’s application for

disability benefits. Plaintiff requests leave to file this Notice of Appeal pursuant to the In Forma

Pauperis order approved by the District Court on June 17, 2019.


Dated: May 13, 2020                                         s/ Barry A. Schultz
                                                               Barry A. Schultz

Barry A. Schultz
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                               CERTIFICATE OF SERVICE

The undersigned does hereby state under penalty of perjury that on the 13th day of May 2020, I
electronically filed the NOTICE OF APPEAL with the Clerk of the Court using the CM/ECF
system which sent notification of the such filing to the following:

Megan Hugo
Special US Assistant Attorney
200 West Adams Street, 30th Floor
Chicago, IL 60606


                                                    s/Maisha Whittington
                                                      Maisha Whittington
                                                      Legal Assistant
